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IN THE UNITED sTATES DISTRICT COURT 05 JUL lb AH I|= 05
FoR THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DivIsION
CLERKW U.S “IS LSTRICT
W'D 9-{~ " MtPl-ts
CLARK 1). KING, )
)
Piainiiff, )
)
v. ) No. 03-2016-1)/v
)
TIME WARNER CoMMUNIcATIoNs; )
UNIVERSAL CoLLEcTIoNs sYSTEMs; )
NICHoLsoN, HACKEL & NICHoLsoN )
LAW FIRM; and DOUGLAS NICHoLsoN, )
)
Defendants. )

 

ORDER DENYING PLAINTIFF’S MOTION
FOR ATTORNEY FEES (Dkt # 25)

 

Before the Court is Plaintiff’ s motion for attorney fees pursuant to Fed.R.Civ. P. 54(d)(2).
For the reasons set forth below, Plaintiff’s motion for attorney’s fees is denied.

On December 5, 2002, Plaintiff filed a complaint for relief under the Fair Debt Collection
Practice Act (“FDCPA”), 15 U.S.C. § l692k(a)(3). Additionally, Plaintiff alleged injuries under the
common laws of Tennessee for malicious prosecution, abuse ofprocess, and civil conspiracy. All
of Piaintiff’ s common law claims and the FDCPA claim were subject to a Fed.R.Civ. P. 68 Offer
of J udgment made by all the Defenda.nts on February 22, 2005. On March 4, 2005 , this matter came
to be settled by the parties for the sum of $18,000.00, outside the Rule 68 Offer of Judgment.

Contemporaneous With Plaintiff’ s motion for attorney’ s fees, filed May 13, 2005 , Plaintiff also filed

This document entered on the dockets a t n 1

with Hule 58 and/cr 79{a) FHCP on nce

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a notice of payment of $l 8,000.00 by Defendants to Plaintiff. Defendants opposed Plaintiff’ s motion
for attomey’s fees on May 27, 2005.

Here, a settlement agreement between the parties allowed for “costs.” Plaintiff contends that
an award of attorneys fees should be made as costs. The parties’ settlement agreement regarding
costs were made pursuant to Fed.R.Civ. P. 54, which does not expressly include attomey’s fees.
Basic principals of contract law must be applied to construe the provisions of the agreement as to
attorney’s fees. This Court finds that attorney’s fees are not ccsts, and Were not factored into the
agreed settlement provided for by the terms of the settlement agreement. Accordingly, the Court

DENIES Plaintift’s motion for an award of attorney’s fees in this matter.

IT rs so 0RI)ERE1) this /,§ day ofiuiy, 2005.

 

UNITED STATES DISTRICT JUDGE"

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CV-02016 was distributed by faX, mail, or direct printing on
.1 uly 15, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

